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IN THE UNITED sTATEs DISTRICT coURT 05!1:2`:'27 )S?>?!U'l |
FoR THE wEsTERN DISTRICT oF TENNESSEE " "

JANI CE TERRY

 

Plaintiff, Case No. 03-1303
vs.

YOU'NG TOUCHSTONE CO.

Defendant

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ORDER ON TAXATION OF COSTS

 

Taxation of costs is governed by 28 U.S.C. § 1920, and the
costs taxable under this section “shall be allowed as of course
to the prevailing party unless the court otherwise directs" or
unless a statute or rule otherwise provides. Fed.R.Civ.P
54(d)(l). Young Touchstone Company, Defendant, was the prevailing
party in this cause. As such, Defendant did on March 29, 2005
file a cost bill totaling $772.93 for court reporter fees and the
cost of deposition transcriptions, and copy costs.

Notice was given to permit these parties opportunity to be
heard at a taxation hearing scheduled in Jackson, TN, on
Wednesday, May 25, 2005 at 9:30 a.m. regarding the assessment of
costs pursuant to Local Rule 54.l(b).

As a result of Defendant's claim and based on matters
reflected in the file, costs are taxed against Plaintiff and in

favor of Defendant as follows:

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CLAIM AWARD

Deposition costs $ 759.70 $ 752.50
Copy/printing costs $ 13.43 $ 13.43
TOTAL $ 772.93 $ 765.93

Deposition fees:

Title 28, Sections 1920(2) and (4) declare that the cost of
taking and transcribing depositions and transcripts, and the cost
of purchasing copies of depositions may be taxed if the
depositions were “necessarily obtained for use in the case.”
Thus, if the depositions are “reasonably necessary to the
prosecution of the action," and not "merely useful for
discovery," the costs are appropriately taxed. Ramos v. Lamm,
713 F.2d 546, 560 (10th Cir. 1983); Sales v. Marshall, 873 F.2d
115, 120 (GthCir. 1989); Independent Iron Works, Inc. v. U.S.
Steel Corp.c C.A. Cal. 1963, 322 F.2d 656, certiorari denied 84
S. Ct. 267, 375 U.S. 922.

A deposition does not have to be used as evidence to be
taxed as an expense. “When a deposition is not actually used at
trial or as evidence on some successful preliminary motion,
whether its cost may be taxed generally is determined by deciding
if the deposition reasonably seemed necessary at the time it was
taken.” 10 Charles Allen Wright et al, Federal Practice and
Procedure: Civil 2d §2676, at 341(2d ed. 1983); see also §§l§§,
873 F.2D at 120 (“Necessity is determined as of the time of

taking, and the fact that a deposition is not actually used at

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trial is not controlling.”), and Shanklin v. Norfolk Southern
Railway Co.l No. 94-1212 (W.D. Tenn. Sept. 9, 1996) relying on
Hudson v. Nabisco Brands, Inc., 758 F.2d 1237, 1243 (7th Cir.
1985); In re Air Crash Disaster, 687 F.2d 626, 631 (2d Cir.
1982).

The determination of necessity must be made in light of the
facts known at the time of the deposition, without regard to
intervening developments that later render the deposition
unneeded for further use. _§§ Wright et al., sup;§, §2676, at
341-44; Zotos v. Lindb€rqh SCh. DiSt., 121 F.3d 356, 363 (8th
Cir. 1997).

In support of this tax claim, Defendant’s bill includes a
copy of the court reporter’s invoice detailing reporter fees and
deposition transcript charges incurred. Defendant’s claim is
allowed, save for the administrative cost( postage and delivery)
charge which is classified a business cost, borne for convenience
of counsel, and therefore is not taxable. The administrative
cost has been culled from the award.

Copy fees:

Where records or papers are copied by counsel for prevailing
party in preparation for trial, their costs may be recovered,
even though no trial is actually held, pursuant to 28 U.S C. §
1920(4), which provides that fees for exemplification and copies
of papers necessarily obtained for use in case, may be taxed as

costs. Meadows v. Ford Motor Co. (1973, WD Ky) 62 FRD 98, 5 BNA

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FEP Cas 665, on remand (WD Ky) 11 BNA FEP Cas 1047 and cert den
425 US 998, 48 L. Ed 2d 823, 96 S Ct 22l5, 12 BNA FEP Cas 1335.
Taxable copy costs permitted under 28 U.S.C. § 1920
contemplate copies reasonably necessarily for use in the case,
but not for the convenience of attorneys. Independence Tube Corp.
v. Copperweld Corp.,D.C.Ill.1982, 543 F.Supp. 706, Defendant
supported this claim with appropriate justification. The copy

fee is included as a taxable cost.

TOTAL AWARD § 765.93

Pursuant to Fed.R.Civ.P. Rule 54(d), the taxation of costs
by the Clerk may be reviewed by the court upon motion, served

within 5 days of the docketing of this order.

  

     

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:03-CV-01303 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

